                                                                    Case 5:14-cv-02417-PSG-KK Document 258 Filed 03/09/16 Page 1 of 3 Page ID #:8405


                                                                                     SEPEHR DAGHIGHIAN, State Bar No. 239349
                                                                                 1   NATHAN TALEI, State Bar No. 281498      E-FILED 3/9/16
                                                                                     LAW OFFICES OF SEPEHR DAGHIGHIAN, P.C. JS-6
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                                                                                                  nathan@daghighian.com
                                                                                 5
                                                                                     Attorneys for Plaintiff:
                                                                                 6   SOLAR SUN RINGS, INC.
                                                                                 7
                                                                                                         UNITED STATES DISTRICT COURT
                                                                                 8
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                 9

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                                                                                     SOLAR SUN RINGS, INC., a               Case No. 5:14-cv-02417 PSG-KK
LAW OFFICES OF SEPEHR DAGHIGHIAN, P.C.




                                                                                11   California Corporation,
                                                                                                                            STIPULATION OF DISMISSAL AS
                                         433 NORTH CAMDEN DRIVE, FOURTH FLOOR




                                                                                12                 Plaintiff,               TO ENTIRE ACTION PURSUANT
                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                                                            TO RULE 41(a)(1)(A)(ii) OF THE
                                                                                13   v.                                     FEDERAL RULES OF CIVIL
                                                                                                                            PROCEDURE; ORDER
                                                                                14   SECARD POOLS, et al.
                                                                                15
                                                                                                  Defendants.
                                                                                16

                                                                                17
                                                                                     SECARD POOLS, INC., a
                                                                                18   California Corporation,
                                                                                19             Counterclaim Plaintiff,
                                                                                20   v.
                                                                                21   SOLAR SUN RINGS, INC., a
                                                                                     California Corporation,
                                                                                22

                                                                                23             Counterclaim Defendant.
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                                                                                                                STIPULATION OF DISMISSAL
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                                                                                 1   TO THE COURT, TO THE PARTIES, AND TO THEIR ATTORNEYS OF
                                                                                 2   RECORD:
                                                                                 3         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
                                                                                 4   Plaintiff/Counterclaim-Defendant: SOLAR SUN RINGS, INC.; Counterclaim-
                                                                                 5   Defendants LORA ROSENE, RICHARD ROSENE, and DAVID BARTOLI;
                                                                                 6   Defendant/Counterclaim-Plaintiff: SECARD POOLS, INC.; Defendants: JOE
                                                                                 7   SECARD,      EDMOND        SECARD,       PINCH     A      PENNY,   POOL     SUPPLY
                                                                                 8   UNLIMITED, SUN WHOLESALE SUPPLY, WAYFAIR, LLC, WAL-MART
                                                                                 9   STORES, INC., SEARS HOLDINGS MANAGEMENT CORPORATION, HOME
                                                                                10   DEPOT       U.S.A.,    INC.,     LOWE’S        HOME        CENTERS,       LLC,    and
LAW OFFICES OF SEPEHR DAGHIGHIAN, P.C.




                                                                                11   OVERSTOCK.COM, INC. hereby stipulate to dismiss the above-captioned action
                                         433 NORTH CAMDEN DRIVE, FOURTH FLOOR




                                                                                12   with prejudice in accordance with the terms of a settlement agreement. The court
                                            BEVERLY HILLS, CALIFORNIA 90210




                                                                                13   shall retain jurisdiction of this matter in order to enforce the settlement agreement.
                                                                                14   Pursuant to the parties’ settlement agreement, each party is to bear its own costs and
                                                                                15   attorneys’ fees.
                                                                                16

                                                                                17
                                                                                     Dated: March 7, 2016                   By: /s/ Victor de Gyarfas
                                                                                18                                                VICTOR DE GYARFAS
                                                                                                                                  FOLEY & LARDNER LLP
                                                                                19                                                Attorneys for Defendants SECARD
                                                                                                                                  POOLS; JOE SECARD; EDMOND
                                                                                20                                                SECARD; PINCH A PENNY, POOL
                                                                                                                                  SUPPLY UNLIMITED; SUN
                                                                                21                                                WHOLESALE SUPPLY;
                                                                                                                                  WAYFAIR, LLC; WAL-MART
                                                                                22                                                STORES, INC.
                                                                                23

                                                                                24                                                     IT IS SO ORDERED.

                                                                                25                                                           3/8/16
                                                                                                                                     DATED: _______________

                                                                                26
                                                                                                                                     _______________________
                                                                                27                                                    U.S. DISTRICT JUDGE
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                                                                                                                    STIPULATION OF DISMISSAL
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                                                                                                                       /s/ Sepehr Daghighian
                                                                                 1                                     SEPEHR DAGHIGHIAN, ESQ.
                                                                                                                       LAW OFFICES OF SEPEHR
                                                                                 2                                     DAGHIGHIAN, P.C.
                                                                                                                       Attorney for Plaintiff/Counterclaim
                                                                                 3                                     Defendants SOLAR SUN RINGS,
                                                                                                                       INC., LORA ROSENE, RICHARD
                                                                                 4                                     ROSENE, DAVID BARTOLI
                                                                                 5

                                                                                 6                                     /s/ Ronnie Casey Hull
                                                                                                                       RONNIE CASEY HULL, ESQ.
                                                                                 7                                     Attorney for Defendants LOWE’S
                                                                                                                       HOME CENTERS, LLC,
                                                                                 8                                     OVERSTOCK.COM, INC. WAL-
                                                                                                                       MART STORES, INC., HOME
                                                                                 9                                     DEPOT, U.S.A., INC, AND SEARS
                                                                                                                       HOLDINGS MANAGEMENT
                                                                                10                                     CORPORATION
LAW OFFICES OF SEPEHR DAGHIGHIAN, P.C.




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                                         433 NORTH CAMDEN DRIVE, FOURTH FLOOR




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                                            BEVERLY HILLS, CALIFORNIA 90210




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                                                                                                       STIPULATION OF DISMISSAL
